           Case 1:16-cr-00069-JLT-SKO Document 538 Filed 02/06/18 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    KIMBERLY A. SANCHEZ
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5

6
     Attorneys for Plaintiff
7    United States of America

8

9

10                                 IN THE UNITED STATES DISTRICT COURT

11                                      EASTERN DISTRICT OF CALIFORNIA

12

13

14   UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00069 LJO

15                                Plaintiff,              STIPULATION TO EXTEND BRIEFING SCHEDULE
                                                          ON DEFENDANT MONSON’S SECOND MOTION
16                          v.                            FOR RECONSIDERATION

17   TRENELL MONSON, ET AL

18                               Defendants.

19

20          The United States, through McGregor W. Scott, United States Attorney and Kimberly A. Sanchez,

21   Assistant U.S. Attorney, and Chris Cosca, attorney for Defendant Monson have stipulated to an extension of

22   time for the government to file an opposition to the defendant’s second motion for reconsideration from

23   February 5, 2018 until February 7, 2018 and defendant’s reply from February 12, 2018 to February 14, 2018.

24   The reason for the request is that attorney for the government had a family emergency on Friday, February 2,

25   2018 that consumed time over the weekend and on February 5, 2018 that she would have otherwise worked

26                                 [Remainder of page intentionally left blank.]

27

28

      Stipulation                                         1
30
           Case 1:16-cr-00069-JLT-SKO Document 538 Filed 02/06/18 Page 2 of 2


1    on the opposition. There is no request to move the hearing date of February 26, 2018.

2

3           Dated: February 5, 20187                                      Respectfully submitted,

4                                                                 McGREGOR W. SCOTT
                                                                  United States Attorney
5

6
                                                           By     /s/ Kimberly A. Sanchez
7                                                                 KIMBERLY A. SANCHEZ
                                                                  Assistant U.S. Attorney
8

9           Dated: February 5, 2018                               /s/ Chris Cosca
                                                                  CHRIS COSCA
10                                                                Attorney for Trenell Monson
11

12          It is Ordered that the Government may file its opposition on or before February 7, 2018, defendant

13   Monson may file any reply on or before February 14, 2018, and that all other dates remain the same.

14

15   IT IS SO ORDERED.

16      Dated:      February 6, 2018                          /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
17

18

19

20

21

22

23

24

25

26

27

28

      Stipulation                                         2
30
